                                 IN THE UNITED STATES DISTRICT COURT
      Case 3:17-cr-00236-M FOR
                             Document 49 Filed
                               THE NORTHERN    09/21/17
                                            DISTRICT       Page 1 of 1
                                                     OF TEXAS                                    PageID 175
                                               DALLAS DIVISION

UNITED STATES OF AMERICA                                  )
                                                          )
VS.                                                       )                        CASE NO.:3:17-CR-236-M (01)
                                                          )
PATRICK EARL MOODY, JR.,                                  )
           Defendant.                                     )

                 ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
              UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the
Consent of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States
Magistrate Judge, and no objections thereto having been filed within fourteen days of service in accordance with 28
U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the Report and Recommendation of the
Magistrate Judge concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the
Court accepts the plea of guilty, and PATRICK EARL MOODY, JR. is hereby adjudged guilty of Count 2 of the
superseding Indictment, that is, Possession of a Firearm by a User of a Controlled Substance, a violation of 18
U.S.C. §§ 922(g)(3) and 924(a)(2). Sentence will be imposed in accordance with the Court's scheduling order.

9       The defendant is ordered to remain in custody.

:       The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence
        that the defendant is not likely to flee or pose a danger to any other person or the community if
        released and should therefore be released under § 3142(b) or (c).

G       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the
        conditions of release for determination, by clear and convincing evidence, of whether the defendant is likely
        to flee or pose a danger to any other person or the community if released under § 3142(b) or (c).

G       The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender
        to the United States Marshal no later than ____________________.

G       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
        G      There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
        G      The Government has recommended that no sentence of imprisonment be imposed, and
        G      This matter shall be set for hearing before the United States Magistrate Judge who set the conditions
               of release for determination, by clear and convincing evidence, of whether the defendant is likely
               to flee or pose a danger to any other person or the community if released under § 3142(b) or (c) .

G       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the defendant has filed
        a motion alleging that there are exceptional circumstances under § 3145(c) why he/she should not be detained
        under § 3143(a)(2). This matter shall be set for hearing before the United States Magistrate Judge who set
        the conditions of release for determination of whether it has been clearly shown that there are exceptional
        circumstances under § 3145(c) why the defendant should not be detained under § 3143(a)(2), and whether
        it has been shown by clear and convincing evidence that the defendant is likely to flee or pose a danger to
        any other person or the community if released under § 3142(b) or (c).

        SIGNED this 21st day of September, 2017.


                                             _________________________________
                                             BARBARA M. G. LYNN
                                             CHIEF JUDGE
